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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9   STATE OF WASHINGTON; STATE OF                         NO. 2:25-cv-00127
     ARIZONA; STATE OF ILLINOIS; and
10   STATE OF OREGON,
                                                           DECLARATION OF
11                             Plaintiffs,                 DR. SHELLEY LAPKOFF
12      v.
13   DONALD TRUMP, in his official capacity
     as President of the United States; U.S.
14   DEPARTMENT OF HOMELAND
     SECURITY; BENJAMINE HUFFMAN, in
15   his official capacity as Acting Secretary of
     Homeland Security; U.S. SOCIAL
16   SECURITY ADMINISTRATION;
     MICHELLE KING, in her official capacity
17   as Acting Commissioner of the Social
     Security Administration; U.S.
18   DEPARTMENT OF STATE; MARCO
     RUBIO, in his official capacity as Secretary
19   of State; U.S. DEPARTMENT OF
     HEALTH AND HUMAN SERVICES;
20   DOROTHY FINK, in her official capacity
     as Acting Secretary of Health and Human
21   Services; U.S. DEPARTMENT OF
     JUSTICE; JAMES MCHENRY, in his
22   official capacity as Acting Attorney
     General; U.S. DEPARTMENT OF
23   AGRICULTURE; GARY WASHINGTON,
     in his official capacity as Acting Secretary
24   of Agriculture; and the UNITED STATES
     OF AMERICA,
25
                               Defendants.
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     DECLARATION OF                                  1              ATTORNEY GENERAL OF WASHINGTON
                                                                             Civil Rights Division
     DR. SHELLEY LAPKOFF                                                 800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-cv-00127                                                  Seattle, WA 98104
                                                                                (206) 464-7744
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 1          I, Shelley Lapkoff, declare as follows:
 2          1.      I am over the age of 18, competent to testify as to the matters herein, and make
 3   this declaration based on my personal knowledge. If called to testify as a witness, I could and
 4   would testify competently to the matters set forth below.
 5          2.      I am a Senior Demographer at National Demographics Corporation (NDC),
 6   which I joined in 2023. Founded in 1979, NDC is a firm dedicated to providing research and
 7   analysis services on demographic, districting, and redistricting issues to a variety of
 8   governmental and non-governmental clients. At NDC, as I have for more than 30 years, I
 9   specialize in conducting demographic and political redistricting analyses. Within the field of
10   demography, my area of expertise is applied demography, which includes the analysis of client
11   and third-party data, such as Census Bureau counts and estimates, data from state, federal and
12   local governments, and data from other research organizations.
13          3.      Prior to joining NDC, I earned a Ph.D. in Demography in 1988 and an M.A. in
14   Economics from the University of California, Berkeley in 1984. I received a B.A. with Honors
15   in Economics from the University of Maryland, College Park, in 1976. While in graduate school,
16   I founded my own demographic consulting firm, Lapkoff Demographic Research (LDR), in
17   1985, which provided consulting services and demographic analyses to government and non-
18   governmental clients. In 1992, LDR subsequently became Lapkoff & Gobalet Demographic
19   Research, Inc. (LDGR). And just recently, in 2023, LDGR merged with NDC. Additionally, I
20   have taught Applied Demography and presented seminars in the U.C. Berkeley Demography
21   Department. I have also been active in the Population Association of America (PAA) and have
22   been Chair of the PAA Committee on Applied Demography.
23          4.      I served as one of the principals of LDGR from its inception until joining NDC.
24   As President of LGDR and as a Senior Demographer with NDC, I have conducted and overseen
25   many demographic research projects. As a consultant and practitioner of applied demographics,
26   I help diverse types of clients. The work includes developing new methods (including


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 1   mathematical models) to forecast population and housing occupancy; assembling and analyzing
 2   demographic data; evaluating demographic trends; preparing written reports on the findings; and
 3   making presentations on a variety of matters.
 4             5.   At LGDR and now NDC, I have worked with more than 20 school districts,
 5   including the large San Francisco and Oakland Unified School Districts, many cities, special
 6   districts, and county boards of supervisors. National-level clients have included non-profits (Girl
 7   Scouts of the United States, United Way Worldwide) and the U.S. Department of Justice. These
 8   projects have often used client and third-party data, such as Census Bureau American
 9   Community Survey data, data from state and federal government (especially birth data from the
10   National Center for Health Statistics), and from research organizations like Pew Research
11   Center.
12             6.   I have worked with dozens of clients providing political redistricting services
13   after the 1990, 2000, 2010, and 2020 decennial Censuses. These types of demographic and
14   redistricting analyses have required expert use of Census data, including the American
15   Community Survey, and Geographic Information Systems (GIS) software.
16             7.   Over the years, I have served as an expert witness in several cases that involved
17   demographic analyses, including issues such as racial and disability discrimination cases,
18   housing discrimination against households with children cases, evaluations of school
19   desegregation plans, political redistricting that conforms to civil rights legislation and court
20   decisions, and developer fee justifications for school districts, among others.
21             8.   Attached as Exhibit A is a copy of my curriculum vitae listing my full experience,
22   prior publications, and list of cases where I have submitted a declaration or participated as a
23   consultant.
24             9.   NDC was retained by the State of Washington to determine the possible impact
25   of a revocation of birthright citizenship in Washington and other states. NDC was asked to
26   estimate the annual number of births to women who are unauthorized immigrants in Washington


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 1   and other states, and if possible, the number of births in which both the mother and father were
 2   unauthorized immigrants. Under my direction and supervision, NDC prepared the analysis and
 3   report attached as Exhibit B, which reflects NDC’s estimate of the number of such births
 4   nationally and in Washington, Arizona, Illinois, and Oregon. The report details NDC’s estimates,
 5   the methodology used, and the data sources and additional materials consulted and relied upon.
 6   It explains in detail the analysis and calculations for Washington and provides in Appendices C-
 7   F the calculations for our nationwide estimates, as well as the estimates for Arizona, Illinois, and
 8   Oregon based on the same methodology and data sources.
 9          10.     Nationwide. As explained in our report, we estimate that in 2022, there were
10   255,000 births to unauthorized mothers in the United States. We further estimate that there were
11   approximately 153,000 births in which both parents were unauthorized. Our nationwide
12   calculations are detailed in Appendix C.
13          11.     Washington. With respect to Washington, as explained in our report, we estimate
14   that in 2022, the last year for which complete data are available, there were approximately 7,000
15   births to unauthorized mothers in Washington. That represents 30 percent of births to all foreign-
16   born mothers and eight percent of all births to Washington residents. We further estimate that
17   there were approximately 4,000 births in which both parents were unauthorized, representing 17
18   percent of births to all foreign-born mothers, and five percent of all births to Washington
19   residents. In conducting our analysis, we reviewed data from a variety of independent sources as
20   well as official federal and state government databases in an effort to best estimate using reliable
21   sources the number of births to unauthorized mothers and parents. Our methodology, data
22   sources, and full analysis are explained further in our attached report.
23          12.     NDC has also performed the same analysis for the number of births in Arizona,
24   Illinois, and Oregon. Our analysis for these states used the same methodology and data sources
25   as the Washington calculations.
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 1          13.     Arizona. As shown in Appendix D to our report, we estimate that in 2022, the
 2   last year for which complete data are available, there were approximately 6,000 births to
 3   unauthorized mothers in Arizona. We further estimate that there were approximately 3,400 births
 4   in which both parents were unauthorized. In conducting our analysis, we reviewed data from a
 5   variety of independent sources as well as official federal and state government databases in an
 6   effort to best estimate using reliable sources the number of births to unauthorized mothers and
 7   parents in Arizona.
 8          14.     Illinois. Likewise, as shown in Appendix E, we estimate that in 2022, the last
 9   year for which complete data are available, there were approximately 9,100 births to
10   unauthorized mothers in Illinois. We further estimate that there were approximately 5,200 births
11   in which both parents were unauthorized. In conducting our analysis, we reviewed data as with
12   other states, including data from a variety of independent sources as well as official federal and
13   state government databases in an effort to best estimate using reliable sources the number of
14   births to unauthorized mothers and parents in Illinois.
15          15.     Oregon. We conducted the same analysis for Oregon. As shown in Appendix F,
16   we estimate that in 2022, the last year for which complete data are available, there were
17   approximately 2,500 births to unauthorized mothers in Oregon. We further estimate that there
18   were approximately 1,500 births in which both parents were unauthorized. For our Oregon
19   calculation, like other states, we reviewed data from a variety of independent sources as well as
20   official federal and state government databases in an effort to best estimate using reliable sources
21   the number of births to unauthorized mothers and parents in Oregon.
22          16.     I have reviewed President Trump’s Executive Order, “Protecting the Meaning
23   and Value of American Citizenship,” which states that birthright citizenship does not extend to
24   children who are born to (1) a mother who is unlawfully present in the United States and a father
25   who is a not a citizen or lawful permanent resident at the time of said person’s birth; or (2) a
26   mother lawfully present but here on a temporary basis and a father who is not a citizen or lawful


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 1   permanent resident at the time of said person’s birth. The analysis described here and in NDC’s
 2   report addresses only a subset of children likely covered by the Executive Order. At this time,
 3   we do not have an estimate of the number of births from immigrants lawfully present in the
 4   United States but here on a “temporary basis,” which the Executive Order does not define. The
 5   birth estimates provided above and in NDC’s report are therefore lower than the full number of
 6   children that would be affected by the Executive Order. In other words, our estimates reflect
 7   only a conservative baseline of the number of children born in the United States and Washington,
 8   Arizona, Illinois, and Oregon, who will be denied citizenship under the Executive Order.
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 1          I declare under penalty of perjury under the laws of the State of Washington and the
 2   United States of America that the foregoing is true and correct.
 3          DATED and SIGNED this 20th day of January 2025, at Oakland, California.
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                                                  DR. SHELLEY LAPKOFF
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